Case 1:05-cr-10062-.]DT Document 11 Filed 08/29/05 Page 1 of 2 Page|D 10

UNlTED STATES DISTRICT C()URT

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WESTERN DISTRICT oF TENNESSEE <é`© §P
Eastern Division 0540 q
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usg/s 4,.0
-vs- ease No. 1. oscriéhé/Y-oa/ST// ‘7
file/5wa
GARY CURTlS “'@;, QO/

 

()RDER APPOINTING COUNSEL PURSUANT T()
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment ofeounsel. Accordingly,
the Court makes the following appointment pursuant to the Crirninal Justice Act (lS U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
The Federal Public Defender is appointed as counsel for the Defendant.

TYPE. OF APPOINTMENT
- All purposes including trial and appeal

DONE and ORDERED in ll l South l-lighland, Jackson, TN, this 26th day ofAugust, 2005.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States l\/larshal

Pretrial Services Off'lce

Assistant Federa| Public Det`ender
lntake

GARY CURTIS

Thls document entered on the docket s eat ln compliance
with ama 55 and;or 32(b) FHch on . 0

 

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 1:05-CR-10062 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

Richard Leigh Grinalds

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Honorable J ames Todd
US DISTRICT COURT

